                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                               3: 01cr183-1

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
Vs.                                              )             ORDER
                                                 )
JIMMY LEE WILLIAMS,                              )
                                                 )
                 Defendant.                      )
_______________________________                  )

        THIS MATTER is before the court on defendant’s undated letter to the court

received in chambers August 27, 2012 (#166). In that letter, defendant complains about

disrespect he believes he is being subjected to while housed in the Mecklenburg County Jail

pending resolution of his SRV violation. Specifically, defendant states that “I need to talk

to someone about the treatment here at Jail North.” He has attached a copy of a jail

grievance form, but does not include a copy of any resolution of such grievance.

        Defendant is advised to talk with his appointed counsel about any concerns he may

have as the court will only address motions in a criminal matter filed by counsel where the

defendant is represented. L.Crim.R. 47.1(H).

                                         ORDER

        IT IS, THEREFORE, ORDERED that to the extent defendant seeks relief from the

court in his letter (#166), such relief is DENIED in accordance with L.Crim.R. 47.1(H).


                                             Signed: August 28, 2012




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